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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


ULYSSES HOLMES,

                  Plaintiff,

v.                                          Case No: 6:20-cv-698-PGB-LRH

WCA MANAGEMENT
COMPANY, L.P.,

                  Defendant.
                                    /

                                    ORDER

      This cause is before the Court on the parties’ Joint Motion for Preliminary

Approval of Class Action Settlement Agreement (Doc. 47), filed on December 18,

2020. The United States Magistrate Judge has submitted a report recommending

that the motion be granted. (Doc. 48).

      After an independent de novo review of the record in this matter, and noting

that the parties filed a Joint Notice of No Objection (Doc. 49), the Court agrees

entirely with the findings of fact and conclusions of law in the Report and

Recommendation.

      Therefore, it is ORDERED as follows:

      1.    The Report and Recommendation (Doc. 25), is ADOPTED and

CONFIRMED and made a part of this Order;

      2.    The parties’ Amended Joint Motion for Approval of FLSA Settlement

Agreement (Doc. 47) is GRANTED;
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        3.    The parties are directed to email an updated 1 copy of their proposed

order        (Doc.       47-4)       in       Microsoft        Word        format        to

CHAMBERS_FLMD_BYRON@flmd.uscourts.gov.

        DONE AND ORDERED in Orlando, Florida on May 12, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




1   The Court adopts the two modifications specified in the Report and Recommendation. (Doc.
    48, pp. 22–23).



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